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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

    JAMES HAYDEN,                                    )   CASE NO. 1:17-cv-02635-CAB
                                                     )
                              Plaintiff,             )   JUDGE CHRISTOPHER A. BOYKO
                                                     )
            v.                                       )
                                                     )   THIRD AMENDED COMPLAINT
    2K GAMES, INC., a Delaware corporation,          )
                                                     )
    and                                              )
                                                     )
    TAKE-TWO INTERACTIVE SOFTWARE,                   )
    INC., a Delaware corporation,                    )
                                                     )
                              Defendants.            )
                                                     )


           JAMES HAYDEN (“HAYDEN“), by and through undersigned counsel, for his Third

Amended Complaint 1 against Defendants, 2K GAMES, INC, (“2K”), and TAKE-TWO

INTERACTIVE SOFTWARE, INC, (“TAKE-TWO”), states as follows:

                     NATURE OF ACTION, JURISDICTION, AND VENUE

           1.     This is a civil action for copyright infringement pursuant to 17 U.S.C. § 501 et seq.

           2.     This case is about the unauthorized use of HAYDEN’s registered tattoos in

Defendants’ highly successful video games, known as NBA 2K16, NBA 2K17, NBA 2K18, and

NBA 2K19 (herein the “Infringing Games”) and Defendants’ resulting ongoing willful violation

of HAYDEN’s rights.




1
 Plaintiff files this Third Amended Complaint with Defendants’ consent, by and through
counsel, under Federal Rule of Civil Procedure 15(a)(2).
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          3.     HAYDEN seeks preliminary and permanent injunctive relief and appropriate

damages from the Court.

          4.     This Action is proper under the Copyright Act of 1976, as amended, 17 U.S.C. §§

101 et seq. (the “Copyright Act”).

          5.     The Court has original subject matter jurisdiction over HAYDEN’s Copyright

claims pursuant to 17 U.S.C. §§ 101 et seq. and 28 U.S.C. §§ 1331 and 1338.

          6.     The Court has personal jurisdiction over Defendants under, inter alia, O.R.C. §

2307.382.

          7.     Upon information belief, each of the Defendants has transacted business in this

state.

          8.     Further, each of Defendants have acted in concert to develop, promote, distribute

and market the Infringing Games, and to contract to supply the Infringing Games in this State.

          9.     Each of the Infringing Games has been sold in this State.

          10.    By infringing HAYDEN’s copyrights and/or inducing others to infringe

HAYDEN’s copyrights, each of the Defendants has caused injury in this state.

          11.    Venue is proper in this District under 28 U.S.C. § 1391(b)(2), as a substantial part

of the events that gave rise to this Complaint occurred in this District.

          12.    For example, HAYDEN created the tattoos in issue in Cleveland, Ohio.

          13.    In the alternative, venue is also proper under 28 U.S.C. § 1391(b)(1) and 1391(c).

                                             PARTIES

          14.    HAYDEN is the co-owner of FOCUSED TATTOOS, having an address at 12745

Cedar Road, Cleveland Heights, Ohio, 44118.




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       15.     Upon information and belief, Defendant 2K is a Delaware corporation with a

principal address at 10 Hamilton Landing, Novato, CA 94949. According to public records, the

registered office address is 2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833.

       16.     Upon information and belief, Defendant, TAKE-TWO is a Delaware corporation

with a principal address at 622 Broadway, New York, NY 10012. According to public records, the

registered office address is 2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833.

       17.     Upon information and belief, TAKE-TWO is a major developer, publisher and

marketer of interactive entertainment and video games around the globe, including the Infringing

Games.

       18.     Upon information and belief, 2K sells and ships video games around the globe,

including the Infringing Games.

       19.     Upon information and belief, each of the named Defendants has a direct financial

interest in the creation and sale of the Infringing Games.

       20.     Upon information and belief, each of the named Defendants is connected with the

matters alleged herein and is liable to HAYDEN.

       21.     Upon information and belief, each Defendant was the agent, servant, employee,

partner and/or joint venturer of each of the other Defendants; the acts of each Defendant were

within the scope of such agency, service, employment, partnership or joint venture; in committing

the acts and omissions alleged herein, each Defendant acted with knowledge, permission and/or

consent of every other Defendant; and each Defendant aided, abetted, and/or conspired with the

other Defendants in the acts and omissions alleged herein.

                                  FACTUAL ALLEGATIONS

       22.     HAYDEN is an established visual artist and lifelong resident living in this District.



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       23.      Among HAYDEN’s artistic creations are original tattoos for the most recognized

basketball players in the world. HAYDEN’S clients include superstars such as LeBron James,

Shaquille O’Neal, Kyrie Irving, Danny Green, Dion Waiters, Mo Williams and Tristan Thompson.

       24.      HAYDEN’S tattoos are original and expressive.

       25.      HAYDEN’S tattoos are reduced to a tangible medium.

       26.      HAYDEN is recognized as one of the world’s most talented tattoo artists.

       27.      For example, among tattoo artists around the world, the publication “Complex”

named HAYDEN as one of “50 Tattoo Artists You Need to Know.” See Exhibit A, 1/05/15

Article.

       28.      In addition, HAYDEN has been commissioned to create art by some of the most

successful companies in the world. For example, Nike, Inc. commission HAYDEN to create the

limited edition Artist Series Nike Air Max LeBron VII sneakers, and since then, has repeatedly

recognized and sought out HAYDEN’s artistic talent. See Exhibit B, 8/22/09 Article.


                                  HAYDEN’s Original Designs

       29.      LeBron James is a star player for the Los Angeles Lakers, a former star player for

the Cleveland Cavaliers, and one of the most popular NBA players of all time.

       30.      Mr. James has several tattoos.

       31.      Over approximately the past decade, HAYDEN has created many tattoos for

LeBron James.

       32.      Danny Green is a player for the Toronto Raptors and a former player for the

Cleveland Cavaliers.

       33.      Mr. Green also has several tattoos.




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         34.   Over approximately the past decade, HAYDEN has created various tattoos for Mr.

Green.

         35.   Tristan Thompson is a player for the Cleveland Cavaliers.

         36.   Mr. Thompson also has several tattoos.

         37.   Over approximately the past decade, HAYDEN has created various tattoos for Mr.

Thompson.

                                      HAYDEN’s Works

                                             Gloria

         38.   For example, in 2007 HAYDEN created the design below (herein the “Gloria

Design”) which appears on Mr. James’s right shoulder:




         39.   HAYDEN is the author of the Gloria Design.

         40.   The Gloria Design is an original work of authorship by HAYDEN.

         41.   The Gloria Design is expressive.

         42.   The copyright in the Gloria Design is registered, having the Registration Number

VAu 1-263-888.


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       43.    HAYDEN has not transferred the copyright to the Gloria Design.

       44.    HAYDEN owns a valid and enforceable copyright in the Gloria Design.

                                               Lion

       45.    In addition, HAYDEN created the following design that appears on Mr. James’s

chest (herein the “Lion Design”):




       46.    HAYDEN is the author of the Lion Design.

       47.    The Lion Design is an original work of authorship by HAYDEN.

       48.    The Lion Design is expressive.

       49.    The copyright in the Lion Design is registered, having the Registration Number

VAu 1-271-044.

       50.    HAYDEN has not transferred the copyright to the Lion Design.

       51.    HAYDEN owns a valid and enforceable copyright in the Lion Design.

                                        Shoulder Stars

       52.    In addition, HAYDEN created the following design on the shoulder of Mr. James

(herein the “Shoulder Stars Design”):




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       53.     HAYDEN is the author of the Shoulder Stars Design.

       54.     The Shoulder Stars Design is an original work of authorship by HAYDEN.

       55.     The Shoulder Stars Design is expressive.

       56.     The copyright in the Shoulder Stars Design is registered, having the Registration

Number VAu 1-270-802.

       57.     HAYDEN has not transferred the copyright to the Shoulder Stars Design.

       58.     HAYDEN owns a valid and enforceable copyright in the Shoulder Stars Design.

                                                Fire

       59.     In addition, HAYDEN created the flames on Mr. Green in the following photograph

(herein the “Fire Design”):




       60.     HAYDEN is the author of the Fire Design.

       61.     The Fire Design is an original work of authorship by HAYDEN.

       62.     The Fire Design is expressive.


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       63.    The copyright in the Fire Design is registered, having the Registration Number VAu

1-287-552.

       64.    HAYDEN has not transferred the copyright to the Fire Design.

       65.    HAYDEN owns a valid and enforceable copyright in the Fire Design.

                                             Scroll

       66.    In addition, HAYDEN created the designs surrounding the scroll on Mr. Green in

the following photograph (herein the “Scroll Design”):




       67.    HAYDEN is the author of the Scroll Design.

       68.    The Scroll Design is an original work of authorship by HAYDEN.

       69.    The Scroll Design is expressive.

       70.    The copyright in the Scroll Design is registered, having the Registration Number

VAu 1-287-545.

       71.    HAYDEN has not transferred the copyright to the Scroll Design.

       72.    HAYDEN owns a valid and enforceable copyright in the Scroll Design.

                                           Brother’s Keeper

       73.    In addition, HAYDEN created the following design on Mr. Thompson (herein the

“Brother’s Keeper Design”):


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       74.     HAYDEN is the author of the Brother’s Keeper Design.

       75.     The Brother’s Keeper Design is an original work of authorship by HAYDEN.

       76.     The Brother’s Keeper Design is expressive.

       77.     The copyright in the Brother’s Keeper Design is registered, having the Registration

Number VAu 1-292-453.

       78.     HAYDEN has not transferred the copyright to the Brother’s Keeper Design.

       79.     HAYDEN owns a valid and enforceable copyright in the Brother’s Keeper Design.

                                    HAYDEN’s Copyright Registrations

       80.     HAYDEN has secured Registration No. VAu 1-263-888 for the Gloria Design,

(herein the “‘888 Registration”).

       81.     The ‘888 Registration has an Effective Date of Registration of September 6, 2016.

       82.     The ‘888 registration certificate is attached hereto as Exhibit C.

       83.     The ‘888 Registration is a valid registration.

       84.     HAYDEN has secured Registration No. VAu 1-271-044 for the Lion Design,

(herein the “‘044 Registration”).

       85.     The ‘044 Registration has an Effective Date of Registration of September 6, 2016.

       86.     The ‘044 registration certificate is attached hereto as Exhibit D.

       87.     The ‘044 Registration is a valid registration.

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       88.     HAYDEN has secured Registration No. VAu 1-270-802 for the Shoulder Stars

Design, (herein the “‘802 Registration”).

       89.     The ‘802 Registration has an Effective Date of Registration of September 6, 2016.

       90.     The ‘802 registration certificate is attached hereto as Exhibit E.

       91.     The ‘802 Registration is a valid registration.

       92.      HAYDEN has secured Registration No. VAu 1-287-552 for the Fire Design,

(herein the “‘552 Registration”).

       93.     The ‘552 Registration has an Effective Date of Registration of August 11, 2017.

       94.     The ‘552 registration certificate is attached hereto as Exhibit F.

       95.     The ‘552 Registration is a valid registration.

       96.     HAYDEN has secured Registration No. VAu 1-287-545 for the Scroll Design,

(herein the “‘545 Registration”).

       97.     The ‘545 Registration has an Effective Date of Registration of August 11, 2017.

       98.     The ‘545 registration certificate is attached hereto as Exhibit G.

       99.     The ‘545 Registration is a valid registration.

       100.    HAYDEN has secured Registration No. VAu 1-292-453 for the Brother’s Keeper

Design, (herein the “‘453 Registration”).

       101.    The ‘453 Registration certificate is attached hereto as Exhibit H.

       102.    The ‘453 Registration is a valid registration.

       103.    The works discussed in paragraphs 38 through 102 are herein collectively referred

to as “HAYDEN’s Works:”




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   Defendants Had Access to HAYDEN’S Works and Knew HAYDEN Was the Author

       104.    Prior to the launch of the Infringing Games, Defendants had access to each of

HAYDEN’s Works.

       105.    Prior to the launch of the Infringing Games, Defendants knew or should have

known that HAYDEN’s Works were original works of authorship.

       106.    Prior to the launch of the Infringing Games, Defendants knew or should have

known that, as original works of authorship, one or more of HAYDEN’s Works were entitled to

copyright protection.

       107.    Prior to the launch of the Infringing Games, Defendants knew or should have

known that HAYDEN owned the rights to HAYDEN’s Works.

       108.    Prior to the launch of the Infringing Games, Defendants did not seek or obtain

permission from HAYDEN to use any of HAYDEN’s Works in the Infringing Games.

                                      The Infringing Games

       109.    On or around September 29, 2015, 2K released a basketball video game titled

“NBA 2K16.”

       110.    Since September 29, 2015, NBA 2K16 has been available for sale throughout the

United States, including throughout this District.

       111.    LeBron James, Danny Green, and Tristan Thompson are featured in NBA 2K16.

       112.    The tattoos on the LeBron James, Danny Green, and Tristan Thompson avatars

that appear in NBA 2K16 are the same or substantially similar to HAYDEN’s Works.

       113.    On information and belief, tattoos are a significant area of interest for 2K16 players.

       114.    On social media, 2K promoted the improved tattoo customization in NBA 2K16 as

a major feature in the game.



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  115.   For example, 2K highlighted a tattoo customization feature in multiple tweets:




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       116.    Indeed, 2K offers its players custom tattoos for purchase and promotes such sales

on its social media:




       117.    On or around September 20, 2016, 2K released another basketball video game titled

“NBA 2K17.”

       118.    Since then, NBA 2K17 has been available for sale throughout the United States,

including throughout this District.

       119.    NBA 2K17 prominently features LeBron James, Danny Green, and Tristan

Thompson.

       120.    The tattoos on the LeBron James, Danny Green, and Tristan Thompson avatars that

appear in NBA 2K17 are the same or substantially similar to HAYDEN’s Works.

       121.    On information and belief, tattoos are a significant area of interest for 2K17 players.

       122.    NBA 2K17 includes a customizable “MyPlayer” feature that includes over 3,000

customizable tattoos that can be moved, scaled, rotated, and placed on a MyPlayer player.

       123.    NBA 2K17 features many improvements and additions over 2K’s prior basketball

games. To name a few: improved graphics, new player animations, improved gameplay, new in-

game commentary, and significant additions and improvements to game modes. For example,

NBA 2K17 features many improvements and additions to the MyTeam, MyLeague, and MyGM

modes. NBA 2K17 also features “entirely new” game features called “League Expansion.” (See

Exhibit I.)


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       124.    The new improvements and additions to NBA 2K17 make this game significantly

different than 2K’s prior basketball games.

       125.    On or around September 19, 2017, 2K released another basketball video game titled

“NBA 2K18.”

       126.    Since then, NBA 2K18 has been available for sale throughout the United States,

including throughout this District.

       127.    NBA 2K18 also prominently features LeBron James, Danny Green, and Tristan

Thompson.

       128.    The tattoos on the LeBron James, Danny Green, and Tristan Thompson avatars that

appear in NBA 2K18 are the same or substantially similar to HAYDEN’s Works.

       129.    Additionally, the default teams featured on the Play Now Team Select Page include

the Cavaliers and, particularly, LeBron James, as illustrated below. Thus, it is even more likely

that players will select and play with one or more of LeBron James and Tristan Thompson.




       130.    NBA 2K18 includes clear, detailed, and unauthorized reproductions of HAYDEN’s

Works. The improvements and additions to NBA 2K18 make this game significantly different than

NBA 2K16.

       131.    On information and belief, tattoos are a significant area of interest for 2K18 players.


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       132.    On or around September 7, 2018, 2K released another basketball video game titled

“NBA 2K19.”

       133.    Since then, NBA 2K19 has been available for sale throughout the United States,

including throughout this District.

       134.    NBA 2K19 also prominently features LeBron James, Danny Green, and Tristan

Thompson avatars.

       135.    The tattoos on the LeBron James, Danny Green, and Tristan Thompson avatars that

appear in NBA 2K19 are the same or substantially similar to HAYDEN’s Works. NBA 2K19

includes clear, detailed, and unauthorized reproductions of HAYDEN’s Works, as depicted below:




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       136.    The improvements and additions to NBA 2K19 make this game significantly

different than NBA 2K16.

       137.    Upon information and belief, tattoos are a significant area of interest for 2K19

players.

       138.    Upon information and belief, players of NBA 2K16, NBA 2K17, NBA 2K18, and

NBA 2K19 often choose to play with LeBron James or the Cleveland Cavaliers.

       139.    Although Defendants knew or should have known that HAYDEN was the author

and owner of each of HAYDEN’S Works, Defendants never asked or obtained permission to use,

reproduce, or create derivative works based on HAYDEN’s Works in the Infringing Games. Nor

has HAYDEN ever been asked or agreed to the distribution of HAYDEN’s Works in the Infringing

Games, or to the use of any of his other exclusive rights.




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                                  Defendants’ Widespread Copying

       140.    Defendants distribute the Infringing Games throughout the United States including

in this District through several channels, including video games stores, and online retailers, such

as Amazon.com.

       141.    When a customer purchases an Infringing Game, they commonly receive a plastic

case containing a plastic disc.

       142.    Each disc contains a copy of one or more computer programs containing the

instructions for the video game console (e.g., an Xbox One) to operate the game.

       143.    One or more of the computer programs within the Infringing Games reproduce

HAYDEN’s Work on the user’s screen.

       144.    The tattoos that appear on the players in the Infringing Games are the same, or

substantially similar to, HAYDEN’s Works.

       145.    As such, each copy of the Infringing Games contains a copy of HAYDEN’s Works

and/or one or more unauthorized derivative works.

       146.    Further, each time a customer plays an Infringing Game, the computer programs on

the disc are loaded in the random access memory (RAM) of the customer’s video game console,

resulting in yet another copy and/or unauthorized derivative work of HAYDEN’s Works being

made each and every time an Infringing Game is played.

       147.    As the user plays the Infringing Games, the NBA players move on the screen. As

the NBA players move, the display of tattoos is constantly adapted on the screen. The foregoing

adaptation results in the creation of derivative works of HAYDEN’s Works.

       148.    The foregoing copying, distribution, and creation of derivative works of

HAYDEN’s Works is not authorized.



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       149.    Defendants’ unauthorized copying, distribution, and creation of derivative works

of HAYDEN’s Works violates HAYDEN’s rights and harms HAYDEN.

                                          Defendants’ Sales

       150.    Upon information and belief, each of the Defendants has received significant

revenues in connection with the Infringing Games.

       151.    On October 2, 2015, 2K announced that it had shipped more than four million

copies of NBA 2K16 within its first week of sales.

       152.    2K also announced that the sales of digital downloads had more than doubled from

the prior year’s basketball video game.

       153.    Upon information and belief, for the second financial quarter in 2015, the quarter

in which 2K released NBA 2K16, TAKE-TWO’s revenue rose to $364.9 million, a 169 percent

increase over the same quarter of the previous year.

       154.    Upon information and belief, as of November 3, 2016, 4.5 million copies of NBA

2K17 were sold.

       155.    Upon information and belief, TAKE-TWO’s net revenue grew 21 percent after the

release of NBA 2K17 to $420 million.

                                       COUNT I
                         DIRECT COPYRIGHT INFRINGEMENT
                              17 U.S.C. §§ 106(5) AND 501

       156.    HAYDEN incorporates by reference and restates each of the allegations in the

preceding paragraphs of this Complaint as though fully set forth herein.

       157.    HAYDEN owns valid and enforceable copyrights in HAYDEN’s Works.

       158.    Defendants infringed HAYDEN’s copyrights by reproducing HAYDEN’s Works,

in whole or in part, without authorization from HAYDEN, in violation of 17 U.S.C. §106.



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        159.    Defendants infringed HAYDEN’s copyrights by distributing copies of HAYDEN’s

Works, in whole or in part, without authorization from HAYDEN, in violation of 17 U.S.C. § 106.

        160.    Defendants infringed HAYDEN’s copyrights by creating derivative works from

HAYDEN’s Works without authorization from HAYDEN, in violation of 17 U.S.C. § 106.

        161.    Through their conduct averred in the previous paragraphs, Defendants have

knowingly and willfully infringed HAYDEN's copyrights in their works by publicly displaying

HAYDEN’s Works without authorization and in violation of 17 U.S.C. §§106(5) and 501.

        162.    Defendants knew or should have known that their conduct infringed HAYDEN’s

copyrights and are thereby liable for willful infringement.

        163.    Defendants have obtained a direct financial benefit from the foregoing infringing

activities while declining or failing to exercise their right and ability to stop or limit same.

        164.    HAYDEN is entitled to damages for Defendants’ infringement in an amount to be

proven at trial, including both the actual damages suffered by HAYDEN and Defendants’ profits

attributable to the infringement. See 17 U.S.C. § 504.

        165.    Alternatively, upon election before final judgment is entered, HAYDEN is entitled

to recover statutory damages. Id.

        166.    Further, Defendants’ past and continuing infringement of HAYDEN’s copyrights

has caused and will continue to cause irreparable injury to HAYDEN. Unless restrained and

enjoined, Defendants will continue to commit such acts of infringement. Monetary damages are

not adequate to compensate HAYDEN for such inflicted and threatened injuries, entitling him to

additional remedies, including temporary and permanent injunctive relief, pursuant to 17 U.S.C. §

502, and an order impounding and destroying any and all infringing materials, pursuant to 17

U.S.C. § 503.



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                                     COUNT II
                         INDIRECT COPYRIGHT INFRINGEMENT

        167.    HAYDEN incorporates by reference and restates each of the allegations in the

preceding paragraphs of this Complaint as though fully set forth herein.

        168.    In addition to directly infringing HAYDEN’s copyrights, Defendants have

contributorily infringed and/or are vicariously liable for infringing or inducing the infringement of

HAYDEN’s exclusive rights in HAYDEN’s Works by knowingly controlling, supervising,

directing, causing, encouraging, inducing and/or materially contributing to the copying or

distribution of copies of or creation of derivative works of HAYDEN’s Works. For example, when

Defendants market and sell the Infringing Games to customers, Defendants are vicariously or

contributorily liable for the resulting direct copyright infringement by people who play the

Infringing Games.

        169.    Defendants have obtained a direct financial benefit from the foregoing infringing

activities while declining or failing to exercise their right and ability to stop or limit same.

        170.    HAYDEN is entitled to damages for Defendants’ infringement in an amount to be

proven at trial, including both the actual damages suffered by HAYDEN and Defendants’ profits

attributable to the infringement. See 17 U.S.C. § 504.

        171.    Alternatively, upon election before final judgment is entered, HAYDEN is entitled

to recover statutory damages. Id.

        172.    Further, Defendants’ past and continuing infringement of HAYDEN’s copyrights

has caused and will continue to cause irreparable injury to HAYDEN. Unless restrained and

enjoined, Defendants will continue to commit such acts of infringement. Monetary damages are

not adequate to compensate HAYDEN for such inflicted and threatened injuries, entitling him to

additional remedies, including temporary and permanent injunctive relief, pursuant to 17 U.S.C. §


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502, and an order impounding and destroying any and all infringing materials, pursuant to 17

U.S.C. § 503.


                                     PRAYER FOR RELIEF

WHEREFORE, HAYDEN demands that:

   A. Defendants, their agents, servants, employees, attorneys, representatives, successors and

        assigns and all persons, firms, or corporations in active concert or participation with

        Defendants be enjoined and restrained preliminarily and permanently from:

      i.    copying, distributing, publicly displaying, publicly performing, using, or creating

            derivative works from HAYDEN’s Works in any way, including for any purpose;

     ii.    facilitating, enabling or inducing the copying, distributing, publicly displaying,

            publicly performing, using or creating of derivative works of any of HAYDEN’s

            Works by, for, or on behalf of, any videogame consumers;

   B. An order be issued impounding or destroying any and all infringing materials pursuant to

        17 U.S.C. § 503;

   C. An accounting be directed to determine Defendants’ profits resulting from its activities and

        that such profits be paid over to HAYDEN, increased as the Court finds to be just under

        the circumstances of this case;

   D. HAYDEN recover all damages he has sustained as a result of Defendants’ activities;

   E. An order be issued awarding HAYDEN punitive damages in a sum to be determined at

        trial;

   F. HAYDEN recover exemplary damages;

   G. HAYDEN recover maximum statutory damages pursuant to 17 U.S.C. § 504;




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   H. HAYDEN recover from Defendants HAYDEN’s costs of this action, reasonable counsel

       fees, and prejudgment and post-judgment interest; and

   I. HAYDEN have all other and further relief as the Court may deem just and proper under

       the circumstances.


Dated: June 27, 2019                       Respectfully submitted,

                                           By: /s/ Daniel McMullen
                                           Daniel McMullen (Ohio Bar No. 0034380)
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                        PLAINTIFF’S DEMAND FOR JURY TRIAL

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby demands

a jury trial.


Dated: June 27, 2019                         Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 27, 2019, a copy of the foregoing was filed electronically.

Notice of this filing was sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt, and parties may access this filing through the Court’s

system.

 Dated: June 27, 2019                               /s/ Daniel McMullen
                                                   One of the attorneys for Plaintiff




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